Case 2:03-cr-20349-.]P|\/| Document 50 Filed 05/12/05 Page 1 of 2 Page|D 73

Report and Order Terminating Probation/

 

 

Prob 35
(3/98) Supervised Release
Prior to Original Expiration Date
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United States District Court
FoR THE

WESTERN DlSTRlCT OF TENNESSEE

 

UNITED STATES OF AMERlCA

V.

MARQUETTE EVANS
Crim. No. 2;03CR20349-02

On February 12 2004, Marquette Evans was placed on Probation for a period of two (2) years. He has

complied with the rules and regulations ofProbation and is no longer in need of supervision. lt is accordingly

recommended that he be discharged from supervision.

Respecthil|y submitted,

wor@@`w§sw>

Miche|le R.§§;L/
United States Probation Officer

ORDER OF THE COURT

Pursuant to the above report, it is ordered that the defendant be discharged from Probation and that the

wm wl

Uni d States District Judge

This document entered on the docketéheet in compé' nco
With Ru|e 55 endich 32(’»3) FHCVP fm _-_ll&oi_@

proceedings in the case be terminated

Dated this / l day of m@ , 20 O_§
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UNITED sTATE ISTRIC COURT - WESRNTE D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 50 in
case 2:03-CR-20349 Was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

Tirnothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

